Case 1:18-cv-00089-MPB-TWP Document 57 Filed 12/12/19 Page 1 of 19 PageID #: 579




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

  DAMARCUS FIGGS, et al.                              )
                                                      )
                               Plaintiffs,            )
                                                      )
                          v.                          )      No. 1:18-cv-00089-MPB-TWP
                                                      )
  GEO GROUP, INC.,                                    )
                                                      )
                               Defendant.             )


        ORDER ON MOTION FOR LEAVE TO FILE AMENDED CLASS ACTION
            COMPLAINT AND MOTION FOR SUMMARY JUDGMENT

         This matter is before the Court on Plaintiffs’ Motion for Leave to File Amended Class

  Action Complaint (Docket No. 54) and on Geo Group, Inc’s (“GEO”) Motion for Summary

  Judgment (Docket No. 42), which is based on the named Plaintiffs’ failure to exhaust their

  administrative remedies available to them. GEO’s motion for summary judgment will be

  GRANTED. Plaintiffs’ motion for leave to amend will be DENIED as the proposed amended

  complaint does not solve the exhaustion issues and is untimely.

         GEO contracts with the Indiana Department of Correction (“IDOC”) to operate the New

  Castle Correctional Facility (“NCCF”), a state prison in New Castle, Indiana. Ind. Code § 11-8-

  3-1. NCCF includes a Mental Health Unit (“MHU”) that can house approximately 100 prisoners.

  Plaintiffs are state prisoners who allegedly have been housed in the MHU for periods of time

  since 2014-2015. (Docket No. 1-1 at ECF p. 8, ¶¶26–28). On December 13, 2017, Plaintiffs and

  proposed class representatives Damarcus Figgs and David Corbin filed a class action complaint

  in the Henry County Circuit Court asserting claims against GEO for labor trafficking,

  discrimination, cruel and unusual punishment, false imprisonment, confinement, unjust
Case 1:18-cv-00089-MPB-TWP Document 57 Filed 12/12/19 Page 2 of 19 PageID #: 580




  enrichment, and negligence. (Docket No. 1-1). The matter was removed to this Court on January

  11, 2018. (Docket No. 1). In ruling on GEO’s motion to dismiss, the Court permitted three

  claims to move forward: (1) a claim that GEO coerces Plaintiffs and other prisoners at NCCF

  MHU to labor, allegedly in violation of the federal Trafficking Victims Protect Act (“TVPA”),

  18 U.S.C. §§ 1589(a), 1595(a); (2) a derivative claim that GEO recruits, harbors, or restrains

  Plaintiffs and other prisoners at the MHU in order to subject them to servitude, also allegedly in

  violation of the federal TVPA, 18 U.S.C. §§ 1590(a), 1595(a); and (3) a claim that GEO

  allegedly reaps unjust benefits from prisoners’ labor during their incarceration at the MHU.

  (Docket No. 31).       In its answer GEO included the affirmative defense that Plaintiffs failed to

  exhaust their remedies before filing suit, as required by the Prison Litigation Reform Act

  (“PLRA,” codified at 42 U.S.C. § 1997e) as to the federal claims and by state law with respect to

  the state claims. (Docket No. 32 at ECF p. 7). The Court ordered expedited briefing on these

  threshold defenses. (Docket No. 41).

                        I.      MOTION FOR SUMMARY JUDGMENT

         GEO’s Motion for Summary Judgment is fully briefed. (Docket No. 42, Docket No. 51,

  Docket No. 55). Summary judgment should be granted “if the movant shows that there is no

  genuine dispute as to any material fact and the movant is entitled to a judgment as a matter of

  law.” Fed. R. Civ. P. 56(a). A “material fact” is one that “might affect the outcome of the suit.”

  Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A dispute is genuine only if a

  reasonable jury could find for the non-moving party. Id. If no reasonably jury could find for the

  non-moving party, then there is no “genuine” dispute. Scott v. Harris, 550 U.S. 372, 380 (2007).

  The Court views the facts in the light most favorable to the non-moving party and all reasonable




                                                   2
Case 1:18-cv-00089-MPB-TWP Document 57 Filed 12/12/19 Page 3 of 19 PageID #: 581




  inferences are drawn in the non-movant’s favor. Ault v. Speicher, 634 F.3d 942, 945 (7th Cir.

  2011).

           a. Facts

           This statement of facts is not necessarily objectively true, but as the summary judgment

  standard requires, the undisputed facts and the disputed evidence are presented in the light

  reasonably most favorable to the Plaintiffs as the non-moving party. See Reeves v. Sanderson

  Plumbing Prods., Inc., 530 U.S. 133, 150 (2000).

           Jennifer Smith was the Offender Grievance Specialist at NCCF at all times relevant to

  this motion. (Docket No. 44-3 at ECF pp. 3–4; Docket No. 44-16 at ECF p. 1). Smith was

  responsible for tracking all offender grievances by entering both the grievances and the

  institution’s responses into NCCF’s Offender Grievance System. (Docket No. 44-3 at ECF p. 4;

  Docket No. 44-16 at ECF p. 3). She was the custodian for these grievances and the responses to

  those grievances and any appeals filed by prisoners. (Docket No. 44-16 at ECF p. 3).

           An offender must take three steps to exhaust NCCF’s grievance process: (1) seek

  informal resolution; (2) file a formal grievance; and (3) file an appeal of any adverse ruling on

  the grievance. The offender seeks an informal resolution by contacting staff to discuss the policy

  or incident subject to the grievance. (Docket No. 44-3 at ECF p. 4; Docket No. 44-16 at ECF p.

  3). If informal resolution does not satisfy the offender, his second step is to submit a formal

  grievance to the Grievance Officer of the facility where the incident occurred. (Id.). A formal

  grievance is subject to several requirements, including: (1) it must be limited to the same issues

  the prisoner raised through the informal process; (2) it must relate only to one event or one issue;

  and (3) it must explain how the event or issue affects the prisoner himself. (Docket No. 44-3 at

  ECF p. 18). If the offender is not satisfied with the resolution of his formal grievance, he must



                                                   3
Case 1:18-cv-00089-MPB-TWP Document 57 Filed 12/12/19 Page 4 of 19 PageID #: 582




  submit an appeal. (Docket No. 44-3 at ECF p. 4; Docket No. 44-16 at ECF p. 3). The grievance

  process is complete once a prisoner finishes an appeal and complies with the timing requirements

  for each step. (Docket No. 44-16 at ECF p. 4).

         Prisoners may file grievances on a variety of issues including, of relevance here, to

  challenge any of the policies relating to facility cleanliness, prisoners’ rights and responsibilities

  with respect to chores or other tasks, prisoner payment, prisoner discipline, the use of restraints,

  or any other policy with which they take issue. (Docket No. 44-16 at ECF p. 4). Likewise,

  prisoners may use the grievance process to challenge the application of any of these policies by

  NCCF personnel. (Id.). Classification and transfer decisions, however, are made by treatment

  personnel and therefore must be appealed through a separate process, as stated in the Offender

  Grievance Process Manual. (Docket No. 44-3 at ECF p. 5; Docket No. 44-16 at ECF p. 7).

         Smith reviewed the records for all grievances that Figgs and Corbin filed while housed at

  the Facility. (Docket No. 44-16). Smith’s search revealed that Figgs and Corbin filed a total of

  seven grievances while incarcerated at NCCF. 1

         With regards to Figgs, on June 25 or 26, 2017, Figgs submitted State Form 52897

  “Offender Complaint-Informal Process Level.” (Docket No. 44-9 at ECF p. 8, Docket No. 52-1).

  Figgs complained that he had been housed in the MHU for two years, had successfully

  completed the program on three different occasions, and had filed a classification appeal, which




  1
    Figgs has been housed at MHU in NCCF during the following dates: July 31, 2015 to
  December 12, 2018, and March 3, 2019 to the present. (Docket No. 44-16 at ECF p. 4). Corbin
  was housed at the MHU in NCCF from September 16, 2014 to March 20, 2019. (Id.). GEO
  separates these seven grievances into two sub-groups: (1) proper grievances (i.e., those alleging
  “grievable” issues) and (2) improper grievances (i.e., those alleging “non-grievable” issues). As
  the Court will explain, for the purposes of this case it is not relevant that some of the grievances
  raised non-grievable issues. Thus, the Court will not refer to the grievances in these two, separate
  categories.
                                                    4
Case 1:18-cv-00089-MPB-TWP Document 57 Filed 12/12/19 Page 5 of 19 PageID #: 583




  had been denied. He asked that the matter be investigated. (Id.). On July 21, 2017, staff

  responded that Figgs would be released from the program based on his progress. (Id.). On July

  28, 2017, Figgs lodged a disagreement with the result and filed a formal grievance. (Docket No.

  44-9 at ECF p. 7, Docket No. 52-2). Figgs marked the date of incident on the formal grievance

  form from January 2016 to January 2017. The formal grievance stated:

                 I’ve been housed here at N.C.C.F. Mental health unit for the last two
                 years. Yes I’ve attempted suicide and had suicidal gesture out of my
                 two years here. However there have been many of times where I
                 have went 90 days without any suicide attempts or gestures. The
                 highest phase in this program is phase three. I have successfully
                 completed this program on three different occasions by making
                 phase three and I’ve yet to be staffed out which means plans to
                 transfer me to a step down mental health facility. Just this year I
                 went 90 days without harming myself or others, no suicide gestures
                 and went to groups and participated in therapy and still wasn’t staff
                 out. (Mar 29, 2017-June 29, 2017). All of what I’m saying is
                 somewhere in my mental health records I’m assuming. My concern
                 and complaint here is that I’ve completed this program several times
                 and they still haven’t transferred me out of mental health. I already
                 filed an informal which I received a response from Stacey Scott
                 which is attached to this.

  (Id.). Smith returned Figgs’s grievance as insufficient because: (1) it was submitted too late; (2)

  facility transfers and bed moves are not grievable; and (3) there was no specific date of incident.

  (Docket No. 44-9 at ECF p. 6, Docket No. 52-3).

         Figgs had two other grievances, but neither was exhausted before the Complaint was

  filed. (Docket No. 44-16 at ECF p. 5). Complaint #100035 was not exhausted until February 27,

  2018, and made several claims, including: (1) that there were “tremendous issues that are

  occurring on the [MHU] that are in violation of the American Disability Act”; (2) that prisoners

  were “suppose to receive 10 hours of group [therapy] per week” but that prisoners were not

  receiving that much time; (3) that Figgs’s and other prisoners’ “safety and security is being put at

  risk on a daily basis because mental health suppose to be staffed with at least 12 officers but on

                                                   5
Case 1:18-cv-00089-MPB-TWP Document 57 Filed 12/12/19 Page 6 of 19 PageID #: 584




  days there are only 8 or 9” and that such staffing “is a safety violation because if something

  happens the GEO Group, inc is liable”; (4) that prisoners were “being held on the [MHU] that do

  not pose a risk to themselves or others” and that Figgs himself was “one of those offenders”; (5)

  that GEO was “profiting off us offenders because we can be at another prison at a step down

  mental health or population”; and (6) that “[d]ue to GEO has a contract with I.D.O.C. all three

  companies are violating [Figgs’s] rights.” (Docket No. 44-5). Figgs’s Complaint # 101265 was

  not exhausted until May 4, 2018, and related to Figgs’s preference to be assigned to a different

  psychologist. (Docket No. 44-6; Docket No. 44-16 at ECF p. 5–6).

         With regards to Corbin, on September 26, 2016, Corbin submitted a formal grievance that

  complained of his sergeant escort assignment and requested that he be relieved of the escort

  assignment. (Docket No. 44-15 at ECF p. 9, Docket No. 44-16 at ECF p. 7). This formal

  grievance was denied on November 10, 2016, because there was no indication the Corbin tried to

  resolve the grievance informally. (Docket No. 44-15).

         On August 17, 2017, Corbin submitted his informal grievance complaining that he had

  been on the MHU for thirty-five months and caused no problems, yet he had not been permitted

  to phase up and fully participate in the program. (Docket No. 44-15 at ECF p. 8, Docket No. 52-

  4). He concluded that he “feel[s] like a commodity being held here for [the NCCF Warden’s]

  profit.” (Id.). GEO responded to the informal grievance noting “all promotions are determined by

  the treatment team.” (Docket No. 44-15 at ECF p. 8). On August 28, 2017, Corbin filed a formal

  grievance. (Docket No. 44-15 at ECF p. 7, Docket No. 52-5). Corbin’s lengthy, formal grievance

  focuses on the nearly three years that he has been on sergeant escort and not allowed to advance

  in the program, despite the treatment/unit team’s request. (Id.). On September 6, 2017, Smith




                                                   6
Case 1:18-cv-00089-MPB-TWP Document 57 Filed 12/12/19 Page 7 of 19 PageID #: 585




  returned Corbin’s grievance as a non-grievable classification issue. (Docket No. 44-15 at ECF p.

  6, Docket No. 52-6).

          Corbin also had two other grievances while he was incarcerated at NCCF, but neither

  were appealed. (Docket No. 44-16 at ECF pp. 6–7). Complaint # 102667, unexhausted, related to

  a confiscated letter. (Docket No. 44-11). Complaint # 103202, unexhausted, related to a broken

  intercom. (Docket No. 44-12).

          b. Analysis

          The PLRA requires any prisoner to exhaust all of his administrative remedies before

  filing any federal claim the relates to prison conditions. “No action shall be brought with respect

  to prison conditions under . . . any . . . Federal law, by a prisoner confined in any jail, prison, or

  other correctional facility until such administrative remedies as are available are exhausted.” 42

  U.S.C. § 1997e(a). This exhaustion requirement “applies to all prisoners seeking redress for

  prison circumstances or occurrences.” Porter v. Nussle, 534 U.S. 516, 520 (2002). In other

  words, it applies to all suits “about prison life, whether they involve general circumstances or

  particular episodes, and whether they allege excessive force or some other wrong.” Id. at 532.

  The PLRA also applies to suits against “[p]rivately owned and operated facilities” unless their

  sole connection to a state arises from licensure or funding. Cf. § 1997(2).The PLRA requires

  prisoners to “exhaust all ‘available’ remedies” and requires courts to dismiss unexhausted

  claims. See Woodford v. Ngo, 548 U.S. 81, 85 (2006). This gives institutions “time and

  opportunity to address complaints internally,” which could “obviat[e] the need for litigation” or

  “filter out some frivolous claims.” Porter, 534 U.S. at 525. At minimum, the exhaustion

  requirement “facilitate[s]” adjudication by producing “an administrative record that clarifies the

  contours of the controversy.” Id. In light of that purpose, the PLRA’s exhaustion requirement is a



                                                     7
Case 1:18-cv-00089-MPB-TWP Document 57 Filed 12/12/19 Page 8 of 19 PageID #: 586




  “precondition to suit” and not just a “precondition to judgment.” Perez v. Wis. Dep’t of Corr.,

  182 F.3d 532, 534–35 (7th Cir. 1999) (emphasis in original).

         Prisoners must follow all procedural rules and deadlines in completing the prison

  grievance process before filing suit in order to satisfy the PLRA. Woodford, 548 U.S. at 90. This

  includes all available appeals. See Pozo v. McCaughtry, 286 F.3d 1022, 1024 (7th Cir. 2002).

  Administrative remedies are “available” under the PLRA even when a specific remedy sought

  (i.e., money damages) is not available. Woodford, 548 U.S. at 85. And the grievance process

  must be completed—not merely started—before the prisoner may file suit. Ford v. Johnson, 362

  F.3d 395, 398 (7th Cir. 2004). If a prisoner completes the grievance process, his claims are

  limited to those issues that were adequately identified in his exhausted grievances. The level of

  detail required to meet the standard may be established in the grievance procedure itself, but at

  minimum it must at least “alert[] the prison to the nature of the wrong for which redress is

  sought.” Strong v. David, 297 F.3d 646, 649–50 (7th Cir. 2002); see also Hall v. Lunsford, No.

  1:17-cv-2945, 2019 WL 1077600, at *5 (S.D. Ind. Mar. 6, 2019).

         Although the PLRA’s exhaustion requirement applies only to federal claims, Indiana

  courts apply an essentially similar analysis to prisoners’ state-law claims. That rule arises from

  Indiana’s general requirement that all claimants exhaust their administrative remedies before

  seeking relief in a court. E.g., Austin Lakes Joint Venture v. Avon Utils., Inc., 648 N.E.2d 641,

  644 (Ind. 1995). This requirement applies to prisoner complaints. Higgason v. Lemmon, 818

  N.E.2d 500 (Ind. Ct. App. 2005) (holding prisoner complaint alleging various state-law claims

  was subject to an exhaustion requirement separate from the one imposed by the PLRA). Id. at

  502–03. Indiana courts have routinely applied this rule to dismiss unexhausted prisoner claims.

  See, e.g., D.S. v. M.C., No. 33A05-1602-PO-246, 2016 WL 3018052 (Ind. Ct. App. May 25,



                                                   8
Case 1:18-cv-00089-MPB-TWP Document 57 Filed 12/12/19 Page 9 of 19 PageID #: 587




  2016) (upholding dismissal of state-law claim against New Castle employee for failure to

  exhaust); Adams v. ArvinMeritor, Inc., 48 N.E.3d 1, 10–12 (Ind. Ct. App. 2015), vacated in part

  on other grounds, 60 N.E.3d 1022 (applying a “similar analysis” to both federal claims and state

  tort claims and affirming dismissal of state tort claims for failure to exhaust); Justise v. Huston,

  No. 77A01-1009-MI-511, 2011 WL 486576 (Ind. Ct. App. July 1, 2008) (state claim properly

  dismissed for failure to exhaust administrative remedies).

         GEO argues that the evidence shows that the grievance process was available to Plaintiffs

  for complaints regarding any work, discipline, or payment policies that underlie their TVPA and

  state-law unjust enrichment claims, as well as any conduct by GEO personnel that Plaintiffs

  might allege was “coercive” in violation of the TVPA. (Docket No. 43 at ECF p. 12; Docket No.

  44-16 at ECF p. 3). GEO asserts that Figgs and Corbin’s grievances were either not exhausted at

  all, not exhausted prior to the filing of the suit, or raised issues that were not properly grievable

  nor related to the underlying problems alleged in Plaintiffs’ complaint. (Docket No. 43 at ECF p.

  12–17). Plaintiffs argue that they did not have an available remedy to exhaust their federal or

  state law claims. (Docket No. 53 at ECF p. 10–14). Plaintiffs concede that the PLRA applies at

  the summary judgment stage. (Docket No. 53 at ECF p.1).

         “The TVPA criminalizes obtaining labor through threat of force or restraint, and

  Plaintiffs allege that inmates at the MHU ‘are routinely chained and shackled when working’ and

  ‘long hours of isolation may be extended for weeks when a class member objects to the

  conditions of the [MHU] or suffers injury due to the harmful conditions of the environment.’”

  (Docket No. 31 at ECF p. 10, quoting Docket No. 1-1 at ECF p. 8). The Court previously held

  that this “language clearly alleges a scheme whereby Plaintiffs are required by force and physical




                                                     9
Case 1:18-cv-00089-MPB-TWP Document 57 Filed 12/12/19 Page 10 of 19 PageID #: 588




  restraint to work and are threatened with serious harm—long hours of solitary confinement—if

  they refuse to work.” (Docket No. 31 at ECF p. 10).

         To recover for unjust enrichment, a plaintiff must show that (1) he rendered a measurable

  benefit to the defendant at the defendant’s express or implied request; (2) he expected payment

  from the defendant; and (3) allowing the defendant to retain the benefit without restitution would

  be unjust. Reed v. Reid, 980 N.E.2d 277, 296 (Ind. 2012). The Court previously held that

  Plaintiffs adequately alleged an unjust enrichment claim because they alleged “that because of

  their labor GEO received a measurable benefit . . . and that a failure to compensate them would

  be unjust.” (Docket No. 31 at ECF p. 21).

         Thus, in order for Plaintiffs to satisfy exhaustion as to both their TVPA and their unjust

  enrichment claims they must have a fully exhausted grievance that put GEO on adequate notice

  that Plaintiffs believed NCCF’s work requirements, discipline, or payment policies were

  inadequate or that the conduct of the GEO personnel was coercive.

         The evidence shows that Figgs’s #100035 grievance, exhausted on February 27, 2018,

  and #101265 grievance, exhausted May 4, 2018, were neither exhausted prior to the filing of this

  case nor do they have anything to do with the remaining claims. (Docket No. 44-4; Docket No.

  44-16 at ECF pp. 5–6). One grievance alleged that his therapist had not complied with his

  treatment plan. (Docket No. 44-6) The other grievance alleged “tremendous issues” at NCCF

  that allegedly violated the Americans with Disabilities Act, insufficient group therapy time, and

  safety risks from understaffing. (Docket No. 44-5). Figgs further explained in his appeal that his

  safety concerns related to an “8th Amendment ‘failure to protect.’” (Docket No. 44-5 at ECF p.

  16). Similarly, the evidence shows that Corbin’s #102667 grievance, which was unexhausted,

  and #103202, which was also unexhausted, were not even filed (let alone exhausted) prior to the



                                                  10
Case 1:18-cv-00089-MPB-TWP Document 57 Filed 12/12/19 Page 11 of 19 PageID #: 589




  filing of this case nor do they have anything to do with the remaining claims. (Docket No. 44-10;

  Docket No. 44-16 at ECF pp. 6–7). One grievance alleged a confiscated letter (Docket No. 44-

  11) and one alleged a broken intercom (Docket No. 44-12).

         These grievances were not properly exhausted prior to the filing of the suit nor do they

  relate to the remaining federal or state-law claims. Plaintiffs do not contest that conclusion in

  their response brief. (Docket No. 53). Instead, Plaintiffs argue that they tried to grieve their

  issues in their July 2017 and August 2017, formal grievances (and the informal grievances that

  preceded), but the administrative procedure was a dead-end, thereby relieving them of the

  exhaustion requirement. (Docket No. 53 at ECF pp. 9–14). See Cotton v. Locke, No. 1:18-cv-

  3909-TWP-DML, 2019 WL 3779714, at *2 (S.D. Ind. Aug. 12, 2019) (“[A]n administrative

  procedure is unavailable when it operates as a simple dead end, when it might be so opaque that

  it becomes, practically speaking incapable of use or when prison administrators thwart inmates

  from taking advantage of a grievance process through machination, misrepresentation, or

  intimidation.”) (citing Ross v. Blake, 136 S. Ct. 1850, 1858 (2016)) (internal quotation marks

  omitted).

         As cited above, Plaintiffs challenge their inmate classifications and seek transfers in these

  two grievances. (Docket No. 44-9 at ECF p. 7; Docket No. 44-15 at ECF p. 7; Docket No. 44-16

  at ECF pp. 7–8). Figgs’s July 2017 grievance was returned on August 4, 2017. (Docket No. 44-9

  at ECF p. 6). It was rejected because: (1) it was received too late, (2) it improperly concerns

  multiple issues or events, and (3), of most relevance, it “concern[ed] a Classification or

  Disciplinary Hearing issue or action. These types of issues or actions are to be appealed through

  their own appeal process and not through the grievance process.” (Id.). Corbin’s August 2017

  grievance was returned on September 5, 2017. (Docket No. 44-15 at ECF p. 6). It was rejected



                                                    11
Case 1:18-cv-00089-MPB-TWP Document 57 Filed 12/12/19 Page 12 of 19 PageID #: 590




  because it “concern[ed] a Classification or Disciplinary Hearing issue or action. These types of

  issues or actions are to be appealed through their own appeal process and not through the

  grievance process.” (Id.). This aligns with the Policy and Administrative Procedures for the

  Offender Grievance Process, which provides that classification actions or decisions cannot be

  grieved using the Offender grievance process because “a separate classification appeals process

  is in place for this purpose.” (Docket No. 44-3 at ECF p. 5).

          Plaintiffs argue that these grievances seeking classification put Defendants on notice

  because “[a]t the heart of this Complaint is a question of why Figgs and Corbin, and the putative

  class they represent, were classified in such a way that they needed to be assigned to the [MHU]

  at [NCCF] for more than six months at a time. As a result of this classification, Plaintiffs were

  forced to provide labor and services to GEO.” (Docket No. 53 at ECF p. 2). Thus, Plaintiffs

  argue, because Figgs and Corbin attempted, unsuccessfully, to grieve their classifications, the

  process was unavailable to them. The Court is not convinced that the “heart” of the remaining

  claims is the Plaintiffs’ classifications. If Plaintiffs’ classification grievances were sufficient “to

  alert prison officials to [the remaining claims],” then those same grievances would be sufficient

  for any alleged problems that Plaintiffs face at the NCCF MHU because but for their

  classifications they would not be housed in the MHU. Jones v. Bock, 549 U.S. 199, 219 (2007).

  This defeats the purpose of § 1997e(a) and state law’s exhaustion of administrative remedies

  requirement because prison officials would not necessarily be afforded the opportunity to remedy

  the problem before it became the subject of litigation.

          The only conceivable connection between Plaintiffs’ grievances and their remaining

  claims lie in Figgs’s single, vague comment that GEO is “profiting” off of prisoners and in

  Corbin’s statement in his informal complaint that he felt like a “commodity” for New Castle’s



                                                     12
Case 1:18-cv-00089-MPB-TWP Document 57 Filed 12/12/19 Page 13 of 19 PageID #: 591




  Warden. (Docket No. 44-5 at ECF p. 3, Docket No. 44-15 at ECF p. 7). But, these comments

  must be read in context to determine whether they adequately apprise GEO of any of the

  problems raised in this complaint. See Lovelace v. Yepsen, 2016 WL 1660492, at *5 (N.D. Ill.

  Apr. 26, 2016). And in context, Figgs’s comment plainly refers to his claim that he should be

  transferred to “a step down mental health or population” because he did not “pose a risk to

  [himself] or others.” (Docket No. 44-5 at ECF p. 3). Likewise, Corbin’s comment related to

  alleged discrimination because of Corbin’s mental illness, and his subsequent formal grievance

  made clear that he was actually challenging his sergeant escort, which was allegedly preventing

  him from participating in the mental health program. (Docket No. 44-15 at ECF p. 7). Neither

  comment was accompanied by any mention of forced work, labor, or any benefit Plaintiffs may

  have conferred on GEO that would alert GEO as to the issues in this lawsuit, nor did either

  mention any payment policies or practices.

         These two grievances that Plaintiffs solely rely on identified no instances of any labor,

  coercion, or inadequate pay. Nor did Plaintiffs’ grievances identify any policies that might relate

  to any of those issues. Thus, whether these two grievances raised grievable issues is moot as the

  grievances did nothing to alert GEO that Plaintiffs felt that they had ever been coerced to labor,

  that GEO benefitted from any such forced labor, or that GEO had somehow unjustly benefitted

  as a result. Plaintiffs’ grievances—whether proper or not—did not exhaust Plaintiffs’

  administrative remedies for the only claims they are now pursuing. Similarly, Plaintiffs’

  argument that the appeals process for Classification issues was “unavailable” because the

  Offender Inmate Grievance Process Handbook does not offer guidance on how or where to

  appeal classification issues is not an issue the Court need address today given Plaintiffs’

  grievances regarding classification did not adequately put GEO on notice and give it an



                                                   13
Case 1:18-cv-00089-MPB-TWP Document 57 Filed 12/12/19 Page 14 of 19 PageID #: 592




  opportunity to address the issues remaining in the instant Complaint prior to the litigation being

  filed.

           Plaintiffs argument that the grievance process was “opaque” is unconvincing. (Docket

  No. 53 at ECF pp. 9–12). The court in Cotton addressed the very grievance process at issue in

  this case and held that it was not unavailable when a prisoner had been “informed of the

  grievance policy when he arrived at [the correctional facility].” Cotton, 2019 WL 3779714, at *2.

  Plaintiffs have admitted their own familiarity with the same policy. (Docket No. 44-8 at ECF p.

  3, Docket No. 44-14 at ECF p. 3). Further, the Court in Cotton held that the plaintiff had not

  exhausted his administrative remedies when he had filed another grievance near the time of the

  incident underlying his legal claim, but that grievance related to a “separate incident” involving

  the same defendants. Cotton, 2019 WL 3779714, at *2. Plaintiffs face a similar predicament:

  they filed several grievances relating to other issues, but they filed none relating to the alleged

  labor, coercion, or pay that underlie their current legal claims. Thus, Plaintiffs argument that the

  deadlines and other requirements make the process, practically speaking, incapable of use is not

  supported by the evidence, which shows that both Plaintiffs routinely used the grievance process

  for other issues, unrelated to this litigation.

           Finally, Plaintiffs make an alternate argument, pursuant to Fed. R. Civ. P. 56(d), that the

  Court defer its decision on this motion until it can consider the facts set forth in their Motion for

  Leave to Amend Class Action Complaint (Docket No. 54), which Plaintiffs argue will eliminate

  the PLRA’s applicability and moot any arguments about exhaustion. Plaintiffs, however, are

  mistaken that an amended complaint could moot the exhaustion requirement in this matter. 2



  2
   Plaintiffs’ argument is also procedurally improper. The Seventh Circuit has held that relief
  under Rule 56(d) must be supported by a formal affidavit or by an unsworn declaration made
  under the penalty of perjury. Kallal v. CIBA Vision Corp., Inc., 779 F.3d 443, 446 (7th Cir.
                                                    14
Case 1:18-cv-00089-MPB-TWP Document 57 Filed 12/12/19 Page 15 of 19 PageID #: 593




         It is undisputed that Plaintiffs failed to exhaust their available administrative remedies as

  required by the PLRA before filing this lawsuit. Geo Group, Inc’s (“GEO”) Motion for Summary

  Judgment (Docket No. 42) is GRANTED. The consequence of these circumstances, in light of

  42 U.S.C. § 1997e(a) and the remaining discussion, is that Plaintiffs’ action should not have been

  brought and must now be dismissed without prejudice. See Ford v. Johnson, 362 F.3d 395, 401

  (7th Cir. 2004) (holding that “all dismissals under § 1997e(a) should be without prejudice.”).

         II.    MOTION FOR LEAVE TO AMEND CLASS ACTION COMPLAINT

         On September 9, 2019, two months after GEO filed its motion for summary judgment,

  Plaintiffs filed their Motion for Leave to Amend Class Action Complaint. (Docket No. 54). GEO

  filed a response in opposition (Docket No. 56) and the period for briefing passed without a reply

  from Plaintiffs. Plaintiffs request leave to amend their Complaint to add/substitute Adolphis

  Goodwin, another inmate of the NCCF MHU and subject to the same mistreatment that Figgs

  and Corbin alleged in their complaint. (Docket No. 54 at ECF p. 2). Plaintiffs argue that

  Goodwin was released from prison on September 5, 2018; thus, the PLRA does not apply to him.

  (Docket No. 54 at ECF p. 2). GEO argues that not only is Plaintiffs’ motion untimely, but also

  the PLRA and state-law exhaustion requirements still apply, and Goodwin cannot meet them;

  thus the proposed, amended complaint would be futile.

         Federal Rules of Civil Procedure 15(a)(2) directs that leave to amend be given as justice

  requires, and courts have recognized a number of reasons for which leave should be denied.

  Foman v. Davis, 371 U.S. 178, 182 (1962). Such reasons include, inter alia, futility, undue

  delay, and undue prejudice to the nonmovant. Id.; see also Thompson v. Ill. Dep’t of Prof’l




  2015); see also 28 U.S.C. § 1746 (requirements for unsworn declaration). Plaintiffs’ provide a
  purported “declaration” that does not meet either standard. (Docket No. 51 at ECF p. 15).
                                                  15
Case 1:18-cv-00089-MPB-TWP Document 57 Filed 12/12/19 Page 16 of 19 PageID #: 594




  Regulation, 300 F.3d 750, 759 (7th Cir. 2002). A court has wide discretion to deny leave to

  amend. Kleinhans v. Lisle Sav. Profit Sharing Tr., 810 F.2d 618, 625 (7th Cir. 1987); see also

  Lac du Flambeau Band of Lake Superior Chippewa Indians v. Stop Treaty Abuse–Wisc., Inc.,

  991 F.2d 1249, 1257 (7th Cir. 1993) (decision denying leave to amend “will be reversed only if

  no reasonable person could agree with [it]”).

         Plaintiffs’ motion is futile. Under the PLRA, a prisoner is defined as “any person

  incarcerated or detained in any facility who is accused of, convicted of, sentenced for, or

  adjudicated delinquent for, violations of criminal law or the terms and conditions of parole,

  probation, pretrial release, or diversionary program.” 42 U.S.C. § 1997e(h). To determine

  whether a plaintiff is a “prisoner confined in jail,” the Seventh Circuit explicitly requires courts

  to “look to the status of the plaintiff at the time he brings his suit.” Witzke v. Femal, 376 F.3d

  744, 750 (7th Cir. 2004) (citing, inter alia, Kerr v. Puckett, 138 F.3d 321, 323 (7th Cir. 1998);

  Harris v. Garner, 216 F.3d 970, 979–80 (11th Cir. 2000)). Thus, a former prisoner may avoid

  the PLRA “by waiting until his release from prison” to bring his claim. Kerr, 138 F.3d at 323.

  But if a prisoner is released while his claim is pending, the PLRA continues to apply. E.g.,

  Harris, 216 F.3d at 985.

         Thus, Plaintiffs’ proposed, amended complaint fares no better than their current one. It is

  well-settled that an amendment that replaces a putative class representative but otherwise leaves

  a claim unchanged relates back to the original-filed complaint and therefore was effectively filed

  at that time. See, e.g., Philips v. Ford Motor Co., 435 F.3d 785, 787–88 (7th Cir. 2006).

  Plaintiffs’ own filings show not only that their proposed, amended complaint is on all fours

  with—and therefore, relates back to—their current one, but also that their intended putative class

  representative was incarcerated at the time that the current complaint was filed. (Compare



                                                    16
Case 1:18-cv-00089-MPB-TWP Document 57 Filed 12/12/19 Page 17 of 19 PageID #: 595




  Docket No. 54-1 at ECF p. 8 (“Mr. Goodwin was sent to the MHU on or around October 24,

  2017, and was forced to remain there until his release from prison on September 5, 2018”) with

  Docket No. 1-1, filed on December 13, 2017). Consequently, Plaintiffs’ intended putative

  representative is subject to the PLRA just as Plaintiffs are, Witzke, 376 F.3d at 750, and his

  subsequent release from prison is irrelevant, Harris, 216 F.3d at 985. His substitution for

  Plaintiffs therefore will not moot any arguments about exhaustion, as Plaintiffs claim.

         Plaintiffs’ entire argument as to amendment is that the PLRA does not apply to Goodwin.

  Plaintiffs have not even claimed that Goodwin exhausted his administrative remedies—even

  after GEO raised these issues in its response brief to which Plaintiffs failed to reply. For this

  reason alone, leave to amend can be denied. However, Plaintiffs are also incorrect that “vicarious

  exhaustion” principle means that their claim is no longer subject to the exhaustion requirement at

  all. Plaintiffs rely on Meisberger v. Donahue, 245 F.R.D. 627, 629–30 (S.D. Ind. 2007) for the

  proposition. Yet, in Meisberger, the Court addressed whether every class member needed to

  individually exhaust his administrative remedies to participate in an injunctive-relief class. 245

  F.R.D. at 629–31. In that case, both of the class representatives had exhausted their

  administrative remedies by “present[ing] their grievances about the [relevant] policy,” which

  meant that the facility “had the opportunity to review those complaints and respond.” Id. at 629.

  The Court then reasoned that because the named plaintiffs had exhausted their administrative

  remedies, “it would [have been] wasteful to require each and every prisoner to present the same

  claim” to the facility. Id. at 630. The Court’s holding in Meisberger comported with the PLRA’s

  core purpose, which is to give a correctional facility “time and opportunity to address complaints

  internally” and therefore to reduce frivolous litigation and to improve the quality of the cases that

  do proceed to court. Porter v. Nussle, 534 U.S. 516, 524–25 (2002).



                                                   17
Case 1:18-cv-00089-MPB-TWP Document 57 Filed 12/12/19 Page 18 of 19 PageID #: 596




         Thus, the Court is not convinced that Meisberger extends to cover the scenario Plaintiffs

  present here. Unlike the Plaintiffs in Meisberger, Plaintiffs ask this Court to continue a case on

  behalf of a putative class—which they claim may include as many as a hundred current prisoners

  (Docket No. 54-1 at ECF p. 2)—without any prisoner exhausting his administrative remedies at

  any time. Really, what Plaintiffs seek is not “vicarious exhaustion,” cf. Meisberger, 245 F.R.D.

  at 629–30, it is no exhaustion at all. Meisberger is further inapplicable given it involved an

  injunctive-relief class, whereas here the purported class seeks compensatory and punitive

  damages. In Meisberger, the Court explicitly noted that class-wide exhaustion presented a

  “largely academic” question in that lawsuit because the plaintiffs sought to invalidate a facility-

  wide policy on constitutional grounds, thus any order in their favor would apply to the entire

  prisoner population regardless of class certification. Id. at 630 n. 1. Indeed, the case on which

  Meisberger primarily relies found vicarious exhaustion appropriate for an injunctive-relief class

  only. Chandler v. Crosby, 379 F.3d 1278, 1287 (11th Cir. 2004). For all of these reasons, at

  minimum, Plaintiffs’ proposed, amended complaint is futile.

         Even apart from its futility, Plaintiffs motion for leave is unduly delayed and prejudicial

  to GEO. District courts have wide discretion to deny leave to amend a pleading where there is

  evidence of undue delay and prejudice to the non-movants. While Plaintiffs assert that they first

  learned of Goodwin when researching their response to GEO’s summary judgment motion

  (Docket No. 54 at ECF p. 2), there is no indication why Goodwin’s information should not have

  been discovered by Plaintiffs earlier, specifically given this case was originally filed in

  December 2017. Moreover, the motion to amend was made more than two months after GEO

  filed its motion for summary judgment. The Seventh Circuit has previously held that when leave

  to amend is sought to avoid the defendant’s pending summary judgment motion, there is no



                                                   18
Case 1:18-cv-00089-MPB-TWP Document 57 Filed 12/12/19 Page 19 of 19 PageID #: 597




  trouble finding prejudice to the defendant. Johnson v. Methodist Medical Center of Illinois, 10

  F.3d 1300, 1304 (7th Cir. 1993). 3

         In sum, Plaintiffs were aware of their need to exhaust their administrative remedies

  before filing suit—as evidenced by their allegations in the December 2017 operative Complaint

  that they had exhausted their administrative remedies. (Docket No. 1-1 at ECF p. 8–9). GEO’s

  answer raised its exhaustion defense approximately five months before Plaintiffs sought to

  amend their complaint. (Docket No. 32 at ECF p. 9). Yet, despite being aware of the issues for

  months Plaintiffs did not file their motion to amend the pleadings until GEO’s summary

  judgment motion had been pending for two months. The Seventh Circuit has found leave to

  amend properly denied when parties offered no explanation for their lapse. Kleinhans, 810 F.2d

  at 625–26.

         Because Plaintiffs’ Motion for Leave to Amend Class Action Complaint (Docket No. 54)

  is futile, unduly delayed, and prejudicial, it is DENIED.

                                       III.   CONCLUSION

         GEO’s Motion for Summary Judgment for Failure to Exhaust Administrative Remedies

  (Docket No. 42) is GRANTED. Plaintiffs’ Motion for Leave to Amend Complaint (Docket No.

  54) is DENIED. Final judgment in accordance with this Order shall issue at this time.

         SO ORDERED.

  Date: 12/12/2019




  3
    The Court recognizes that the summary judgment stage in Johnson, which addressed the merits
  of the case, is distinguishable from the summary judgment in this PLRA action, which solely
  focuses on whether the exhaustion requirement has been met. However, under the facts of the
  instant case the Court finds that distinction insignificant given the futility of Plaintiffs’
  amendment and given the delay in proposing the amendment after the exhaustion issue of the
  currently-named Plaintiffs was raised.
                                                  19
